        CASE 0:17-cr-00153-ADM-DTS Doc. 480 Filed 10/19/20 Page 1 of 5




                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA

United States of America,

              Plaintiff,
                                                             MEMORANDUM OPINION
       v.                                                    AND ORDER
                                                             Criminal No. 17-153(6) ADM/DTS
Dante Dejune Brown,

            Defendant.
______________________________________________________________________________

Dante Dejune Brown, pro se.
______________________________________________________________________________

                                      I. INTRODUCTION

       This matter is before the undersigned United States District Judge for a ruling on

Defendant Dante Dejune Brown’s (“Brown”) Motion for Compassionate Release Under

18 U.S.C. § 3582(c)(1) [Docket No. 478] (“Motion”). For the reasons set forth below, the

Motion is denied.

                                      II. BACKGROUND

       On November 21, 2017, Brown pled guilty to conspiracy to distribute 280 grams or more

of a mixture and substance containing cocaine base. Min. Entry [Docket No. 140]; Plea

Agreement [Docket No. 146]. On May 23, 2018, Brown was sentenced to a prison term of 132

months. Min. Entry [Docket No. 235]; Sentencing J. [Docket No. 238] at 2. The sentence was a

downward variance from the applicable sentencing guideline range of 151 to 188 months.

Sentencing Tr. [Docket No. 327] at 21; Presentence Investigation Report (“PSR”) [Docket No.

218] ¶ 123; Statement Reasons [Docket No. 239].

       Brown is currently incarcerated at the federal correctional institution in Pekin, Illinois

(“FCI–Pekin”). His projected release date is November 1, 2027. See Federal Bureau of Prisons
         CASE 0:17-cr-00153-ADM-DTS Doc. 480 Filed 10/19/20 Page 2 of 5




Inmate Locator, https://www.bop.gov/ (last visited Oct. 19, 2020).

       Brown now moves for compassionate release pursuant to 18 U.S.C. § 3582(c)(1)(A).

Brown, age 30, argues that his medical conditions of attention deficit hyperactivity disorder

(“ADHD”), anxiety, and high blood pressure increase his risk of severe illness from COVID-19.

He also argues that his race and gender place him at greater risk of illness and death from the

disease. Brown further states that his sister and a cousin died from heart conditions within the

past 7 years. Brown also argues that his fiancee needs him to help raise their three young

children.

       While in prison, Brown has taken courses in math, social studies, and science, and has

completed a parenting class and drug education class.

                                        III. DISCUSSION

       Generally, a “court may not modify a term of imprisonment once it has been imposed.”

18 U.S.C. § 3582(c). One of the few exceptions to this general rule is the compassionate release

provision of 18 U.S.C. § 3582(c)(1)(A). Under this provision, a court may reduce a term of

imprisonment if, “after considering the factors set forth in section 3553(a),” the court finds that

“extraordinary and compelling reasons” warrant a sentence reduction, “and that such a reduction

is consistent with applicable policy statements issued by the Sentencing Commission.”

18 U.S.C. § 3582(c)(1)(A).

       The Sentencing Commission’s applicable policy statement defines “extraordinary and

compelling” reasons to include serious medical conditions or cognitive impairments “that

substantially diminish[] the ability of the defendant to provide self-care within the environment

of a correctional facility and from which he or she is not expected to recover.” U.S.S.G.


                                                  2
        CASE 0:17-cr-00153-ADM-DTS Doc. 480 Filed 10/19/20 Page 3 of 5




§ 1B1.13 comment n.1(A)(ii). “Extraordinary and compelling” reasons also include family

circumstances in which the caregiver of the defendant’s minor children has died or become

incapacitated, or where the defendant’s spouse or registered partner is incapacitated and the

defendant is the only available caregiver. U.S.S.G. § 1B1.13 comment n.1(C). The policy

statement also requires the court to determine that “[t]he defendant is not a danger to the safety

of any other person or to the community” before a sentence reduction may be granted under

§ 3582(c)(1)(A). U.S.S.G. § 1B1.13(2).

       A defendant may not bring a motion for compassionate release until after the defendant

has “fully exhausted all administrative rights to appeal a failure of the Bureau of Prisons to bring

a motion on the defendant’s behalf or the lapse of 30 days from the receipt of such a request by

the warden of the defendant’s facility, whichever is earlier.” 18 U.S.C. § 3582(c)(1)(A). Brown

does not state that he submitted a compassionate release request to the warden of his facility.

Thus, he has not satisfied the exhaustion requirement.

       Even if the exhaustion requirement had been met, Brown has not shown extraordinary

and compelling reasons warranting a sentence reduction. When considering compassionate

release motions in the context of the COVID-19 pandemic, courts have required an inmate to

show both a “particularized susceptibility to the disease” and “a particularized risk of contracting

the disease at his prison facility.” United States v. Miland, No. 16–0159 (WMW), 2020 WL

3249259, at *3 (D. Minn. June 16, 2020) (quoting United States v. Feiling, No. 3:19–112 (DJN),

2020 WL 1821457, at *7 (E.D. Va. Apr. 10, 2020)); accord United States v. Ramirez, No.

17-10328-WGY, 2020 WL 2404858, at *3 (D. Mass. May 12, 2020); United States v. Shamilov,

No. 19-cr-238 (SRN), 2020 WL 2029600, at *3 (D. Minn. Apr. 28, 2020). Brown’s ADHD,


                                                 3
        CASE 0:17-cr-00153-ADM-DTS Doc. 480 Filed 10/19/20 Page 4 of 5




anxiety, and high blood pressure are not among the conditions identified by the Centers for

Disease Control and Prevention (“CDC”) as increasing the risk of severe illness from COVID-

19. See CDC, Coronavirus Disease 2019: People with Certain Medical Conditions,

https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-medical-condit

ions.html?CDC_AA_refVal=https%3A%2F%2Fwww.cdc.gov%2Fcoronavirus%2F2019-ncov%

2Fneed-extra-precautions%2Fgroups-at-higher-risk.html (last visited Oct. 19, 2020). Recent

guidance from the CDC states that adults with high blood pressure “might” be at an increased

risk of severe complications from COVID-19. Id. The CDC does not identify ADHD or anxiety

as conditions that impact the severity of illness from COVID-19. Although Brown asserts that

two of his relatives have died from heart conditions, he does not state that he has been diagnosed

with heart disease. Additionally, at 30 years old, Brown’s risk for severe illness from COVID-

19 is substantially lower than the risk to older adults. See CDC, Coronavirus Disease 2019:

Older Adults,

https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/older-adults.html (last

visited Oct. 19, 2020). Thus, Brown has not shown a particularized susceptibility to the

COVID-19 virus.

       Brown’s family circumstances also do not warrant a sentence reduction. Brown has not

shown that “the caregiver of [his] minor children has died or become incapacitated.” U.S.S.G.

§ 1B1.13 comment n.1(C). Even if he had, Brown has not shown that he is “the only available

caregiver” of his minor children. U.S.S.G. § 1B1.13 comment n.1(C).

       The sentencing factors in § 3553(a) also weigh against reducing Brown’s sentence.

These factors include “the nature and circumstances of the offense” and “the need for the


                                                4
         CASE 0:17-cr-00153-ADM-DTS Doc. 480 Filed 10/19/20 Page 5 of 5




sentence imposed to reflect the seriousness of the offense, to promote respect for the law . . . to

provide just punishment for the offense . . . to afford adequate deterrence to criminal conduct,”

and “to protect the public from further crimes of the defendant.” 18 U.S.C. § 3553(a). When

sentencing Brown, the Court determined that a downward variance of 19 months to a term of 132

months imprisonment was necessary to carry out these sentencing goals. Releasing Brown after

he has served less than one quarter of his sentence would undermine these sentencing

considerations.

                                       IV. CONCLUSION

       Based upon the foregoing, and all the files, records, and proceedings herein, IT IS

HEREBY ORDERED that Defendant Dante Dejune Brown’s Motion for Compassionate

Release Under 18 U.S.C. § 3582(c)(1) [Docket No. 478] is DENIED.

                                                      BY THE COURT:



                                                          s/Ann D. Montgomery
                                                      ANN D. MONTGOMERY
                                                      U.S. DISTRICT COURT

Dated: October 19, 2020




                                                  5
